                    Case 21-03336            Doc 1       Filed 03/15/21 Entered 03/15/21 12:13:44                              Desc Main
                                                           Document     Page 1 of 30

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Bulldogge Fitness Group, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4735 Saratoga Ave
                                  Downers Grove, IL 60516
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DuPage                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Bulldogge Fitness Group, Inc.                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Bulldogge Fitness Group, Inc.                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Bulldogge Fitness Group, Inc.                                               Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Bulldogge Fitness Group, Inc.                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 15, 2021
                                                  MM / DD / YYYY


                             X   /s/ Scott Schroeder                                                      Scott Schroeder
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Richard G Larsen                                                      Date March 15, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard G Larsen 6193054 Illinois
                                 Printed name

                                 SpringerLarsenGreene, LLC
                                 Firm name

                                 300 S. County Farm Road
                                 Suite G
                                 Wheaton, IL 60187
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     630-510-0000                  Email address      rlarsen@springerbrown.com

                                 6193054 Illinois IL
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Bulldogge Fitness Group, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 15, 2021                          X /s/ Scott Schroeder
                                                                       Signature of individual signing on behalf of debtor

                                                                       Scott Schroeder
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                  Case 21-03336                    Doc 1         Filed 03/15/21 Entered 03/15/21 12:13:44                               Desc Main
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 Fill in this information to identify the case:

 Debtor name          Bulldogge Fitness Group, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    Wells Fargo                                   Describe debtor's property that is subject to a lien               $1,166,934.16                       $0.00
        Creditor's Name
        625 Marquette Ave., 13th
        Floor
        Minneapolis, MN 55402
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                          $1,166,934.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    6

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Bulldogge Fitness Group, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $375.00
           All-American Publishing                                              Contingent
           5411 Kendall St.                                                     Unliquidated
           Boise, ID 83706                                                      Disputed
           Date(s) debt was incurred 2/4/2020
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number 21IN
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $16,336.05
           American Express                                                     Contingent
           PO Box 0001                                                          Unliquidated
           Los Angeles, CA 90096-8000                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number      1005
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $409,472.00
           DTS Properties LLC/ RMS Properties                                   Contingent
           1111 N Plaza Drive
                                                                                Unliquidated
           Suite 200
           Schaumburg, IL 60173                                                 Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Downers Grove Lease
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $76,137.60
           Everest Financial/Recovery Solution                                  Contingent
           1008 Mattlind Way                                                    Unliquidated
           Milford, DE 19963                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 4
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              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,500.00
          Hyperice                                                              Contingent
          525 Technology Dr.                                                    Unliquidated
          Suite 100                                                             Disputed
          Irvine, CA 92618
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number       2636                         Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $699.75
          IC System, Inc.                                                       Contingent
          444 Highway                                                           Unliquidated
          96 East PO Box 64378                                                  Disputed
          Saint Paul, MN 55164
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number       8E12                         Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,283.40
          Illinois Dept of Employment Securit                                   Contingent
          Bankruptcy Unit Collection Subdivis                                   Unliquidated
          33 South State Stree, 10th Floor                                      Disputed
          Chicago, IL 60603-2808
                                                                             Basis for the claim:    Other
          Date(s) debt was incurred
          Last 4 digits of account number       1322                         Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,616.38
          Illinois Dept. of Revenue                                             Contingent
          P.O. Box 19006                                                        Unliquidated
          Springfield, IL 62794-9006                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Sales/Use Tax & E911 Surcharge
          Last 4 digits of account number       2390
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Jeffrey Hall                                                          Contingent
          c/o Rathje Woodward, LLC
                                                                                Unliquidated
          300 E. Roosevelt Road, Ste.300
          Wheaton, IL 60187                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $26,558.41
          Jp Morgan Chase                                                       Contingent
          P.O. Bxo 1423                                                         Unliquidated
          Charlotte, NC 28201-1423                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       8425
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40,587.82
          Jp Morgan Chase                                                       Contingent
          P.O. Bxo 1423                                                         Unliquidated
          Charlotte, NC 28201-1423                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number       0964
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 4
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 Debtor       Bulldogge Fitness Group, Inc.                                                           Case number (if known)
              Name

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,167.00
           Mantis Funding                                                       Contingent
           225 Clematis St                                                      Unliquidated
           West Palm Beach, FL 33401                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes

 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $60.00
           Rx Music                                                             Contingent
           1020 Lawrence Ave.                                                   Unliquidated
           W. Suite 206                                                         Disputed
           Toronto, ON
                                                                             Basis for the claim:    Business Debt
           Date(s) debt was incurred
           Last 4 digits of account number      1267                         Is the claim subject to offset?         No     Yes


 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,262.61
           UniFirst Corp                                                        Contingent
           2045 North 17th Ave                                                  Unliquidated
           Melrose Park, IL 60160                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number      7849
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       A.G. Adjustments, Ltd.
           740 Walt Whitman Road                                                                      Line     3.14                                    7AGA
           Melville, NY 11747-2212
                                                                                                             Not listed. Explain

 4.2       Alltran Financial, LP
           Po Box 4045                                                                                Line     3.10                                    4623
           Concord, CA 94524-4045
                                                                                                             Not listed. Explain

 4.3       Att Midwest
           1146 Hickory Mall                                                                          Line     3.6                                     1890
           Forsyth, IL 62535
                                                                                                             Not listed. Explain

 4.4       David J Turiciano
           2230 Edgewater Dr                                                                          Line     3.3                                     L823
           Grafton, WI 53024
                                                                                                             Not listed. Explain

 4.5       Zwicker & Associates
           7366 N Lincoln Ave Suite 102                                                               Line     3.2                                     R369
           Lincolnwood, IL 60712
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                     585,056.02
Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 4
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 Debtor       Bulldogge Fitness Group, Inc.                                                       Case number (if known)
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              585,056.02




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                Page 4 of 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Bulldogge Fitness Group, Inc.                                                                    Case No.
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                        0.00
             Prior to the filing of this statement I have received                                        $                        0.00
             Balance Due                                                                                  $                        0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 15, 2021                                                              /s/ Richard G Larsen
     Date                                                                        Richard G Larsen 6193054 Illinois
                                                                                 Signature of Attorney
                                                                                 SpringerLarsenGreene, LLC
                                                                                 300 S. County Farm Road
                                                                                 Suite G
                                                                                 Wheaton, IL 60187
                                                                                 630-510-0000 Fax: 630-510-0004
                                                                                 rlarsen@springerbrown.com
                                                                                 Name of law firm




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                                                                                  Debtor(s)             Chapter    11




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                  21




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:       March 15, 2021                                            /s/ Scott Schroeder
                                                                       Scott Schroeder/President
                                                                       Signer/Title




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                      A.G. Adjustments, Ltd.
                      740 Walt Whitman Road
                      Melville, NY 11747-2212


                      All-American Publishing
                      5411 Kendall St.
                      Boise, ID 83706


                      Alltran Financial, LP
                      Po Box 4045
                      Concord, CA 94524-4045


                      American Express
                      PO Box 0001
                      Los Angeles, CA 90096-8000


                      Att Midwest
                      1146 Hickory Mall
                      Forsyth, IL 62535


                      David J Turiciano
                      2230 Edgewater Dr
                      Grafton, WI 53024


                      DTS Properties LLC/ RMS Properties
                      1111 N Plaza Drive
                      Suite 200
                      Schaumburg, IL 60173


                      Everest Financial/Recovery Solution
                      1008 Mattlind Way
                      Milford, DE 19963


                      Hyperice
                      525 Technology Dr.
                      Suite 100
                      Irvine, CA 92618


                      IC System, Inc.
                      444 Highway
                      96 East PO Box 64378
                      Saint Paul, MN 55164
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                  Illinois Dept of Employment Securit
                  Bankruptcy Unit Collection Subdivis
                  33 South State Stree, 10th Floor
                  Chicago, IL 60603-2808


                  Illinois Dept. of Revenue
                  P.O. Box 19006
                  Springfield, IL 62794-9006


                  Jeffrey Hall
                  c/o Rathje Woodward, LLC
                  300 E. Roosevelt Road, Ste.300
                  Wheaton, IL 60187


                  Jp Morgan Chase
                  P.O. Bxo 1423
                  Charlotte, NC 28201-1423


                  Mantis Funding
                  225 Clematis St
                  West Palm Beach, FL 33401


                  Rx Music
                  1020 Lawrence Ave.
                  W. Suite 206
                  Toronto, ON


                  Scott Schroeder
                  1320 75th St
                  Downers Grove, IL 60516


                  Scott Schroeder
                  4735 Saratoga Ave
                  Downers Grove, IL 60516


                  UniFirst Corp
                  2045 North 17th Ave
                  Melrose Park, IL 60160


                  Wells Fargo
                  625 Marquette Ave., 13th Floor
                  Minneapolis, MN 55402
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                  Zwicker & Associates
                  7366 N Lincoln Ave Suite 102
                  Lincolnwood, IL 60712
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Bulldogge Fitness Group, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 15, 2021                                                      /s/ Richard G Larsen
 Date                                                                Richard G Larsen 6193054 Illinois
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Bulldogge Fitness Group, Inc.
                                                                     SpringerLarsenGreene, LLC
                                                                     300 S. County Farm Road
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